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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                            Miami Division

                                     CASE NO: 1:18-cv-20771-FAM

  CORINNE PICCINETTI,

                 Plaintiff,

  vs.

  MSC CRUISES, S.A.,

                 Defendant.
                                               /

            PLAINTIFF’S MOTION TO COMPEL RESPONSES TO DISCOVERY

          Plaintiff, Corinne Piccinetti, in accordance with Federal Rule of Civil Procedure 37 (a)(3)(B)

  and Southern District of Florida Local Rule 26.1 (g)(2), hereby moves for an order compelling

  production of better responses to Plaintiff’s initial discovery:

                                           BACKGROUND

          On October 30, 2017, Corrine Piccinetti shattered her left ankle on Deck 14, the “Aphrodite

  Deck”, of the MSC Divina. She slipped and fell on slick and slimy flooring in an area on the vessel

  adjacent to outdoor showers, a jacuzzi, and a large swimming pool on the port side of the open-air

  deck.

          Plaintiff propounded initial Interrogatories and Requests for Production on Defendant MSC

  Cruises, S.A. (hereinafter “MSC”). MSC responded with boilerplate objections accompanied with

  unclear, evasive, contradictory and incomplete answers. (See MSC’s Responses to Plaintiff’s Initial

  Interrogatories, and MSC’s Responses to Plaintiff’s First Request for Production attached hereto as

  Exhibit A and Exhibit B, respectively.). The withheld information and materials bear directly on

  the heart of liability in this matter. MSC’s spurious objections and selectively ambiguous response
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  strategy has prevented Plaintiff from discovering information and materials needed to prove her

  case. Adding to the ambiguity, MSC has cited to the work-product privilege in numerous instances

  but has not provided a privilege log. The Court should compel better responses to the initial

  discovery requests set forth below.

                                            ARGUMENT

           I.     Legal Standard

           The Federal Rules of Civil Procedure strongly favor full discovery whenever possible.

  Farnsworth v. Procter & Gamble Co., 758 F.2d 1545, 1547 (11th Cir. 1985). Rule 26 defines the

  scope of discovery as including any non-privileged matter that is relevant to any party’s claim or

  defense and proportional to the needs of the case. Fed. R. Civ. P. 26(b). In ruling on discovery

  disputes Courts must employ a liberal and broad scope in keeping with the spirit and purpose of the

  discovery Rules. Rosenbaum v. Becker & Poliakoff, P.A., 708 F. Supp. 2d 1304, 1306 (S.D. Fla.

  2010).

           II.    MSC’s Deficient, Incomplete, and Evasive Answers to Interrogatories No. 15,
                  16, and 17

           MSC should be ordered to compel full and meaningful answers to the following

  Interrogatories:

           •      Interrogatory No. 15:

           “15.   Please provide the following information on each and every incident in which
                  someone has slipped and fallen on the outdoor pool deck on deck 14 of the
                  MSC Divina on the same or similar type of flooring as the subject incident
                  within 3 years before the date of the incident in this case and at any time
                  since the subject incident:

                         a.      Date of incident;
                         b.      Full name, address, and telephone number of the person
                                 involved in the incident;
                         c.      Description of the location on Deck 14 where the incident
                                 occurred;
                         d.      Description of how the incident happened;

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                         e.     Description of the injuries, if any;
                         f.     If a lawsuit was filed, the full style and case number.

                 RESPONSE: Objection. This request is overbroad as to scope and
                 disproportionate to the needs of the case. Defendant stipulates that
                 Defendant is aware of prior slip and fall1 in the pool area of the Divina
                 on a similar type of flooring. Furthermore, Defendant objects to the
                 production of prior slip and falls insomuch as prior slip and falls do not
                 give Defendant notice of the greasy transitory substance identified by
                 Plaintiff, and are therefore irrelevant.”

          MSC’s response and entwined objections to Interrogatory No. 15 are evasive, confusing

  and ambiguous. The Response leaves Plaintiff uncertain of MSC’s actual position, and appears

  aimed at permitting MSC to avoid providing information about past slip and fall incidents on wet

  floors, while simultaneously providing it with leeway to make countervailing future arguments.

         The information sought in Interrogatory No. 15 is clearly relevant. See generally Hessen v.

  Jaguar Cars, Inc., 915 F.2d 641, 650 (11th Cir. 1990). The Interrogatory is not overbroad or

  disproportionate to the needs of the case; to the contrary it is directly correlated to the heart of

  liability and needed to prove notice on the part of MSC. The maritime standard of ordinary

  reasonable care under the circumstances “requires, as a prerequisite to impose liability, that the

  carrier have had actual or constructive notice of the risk-creating conditions.” Wolf v. Celebrity

  Cruises, Inc., 101 F. Supp. 3d 1298, 1306 (S.D. Fla. 2015) citing Keefe v. Bahama Cruise Line, Inc.,

  867 F.2d 1318 (11th Cir. 1989). To demonstrate notice, the plaintiff can point to previous incidents

  or show that the defendant previously warned of the danger. Malley v. Royal Caribbean Cruises

  Ltd., 2017 WL 5192361, *2967 (11th Cir. Nov. 9, 2017). The Court should overrule MSC’s



         1
          Adding to the vexing nature of the Response, it is unclear precisely what MSC meant by the
  phrase “aware of prior slip and fall in the pool area.” “[P]rior slip and fall” may mean one such
  incident, or it may mean several. This ambiguous wording could be a mere typo or it may be an
  intentional choice aimed at discovery gamesmanship.

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  objections.

          MSC’s stipulation to being “aware of prior slip and fall in the pool area of the Divina on a

  similar type of flooring” does not obviate its need to respond to discovery. In addition to notice, the

  information is being sought to prove other aspects of the case such as “magnitude of the danger

  involved, the [party’s] ability to correct a known defect, the lack of safety for intended uses, strength

  of a product, the standard of care, and causation.” Jones v. Otis Elevator Co., 861 F.2d 655, 661

  (11th Cir. 1988). MSC should be ordered to answer the Interrogatory fully as it bears on many

  crucial aspects of the case that transcend MSC’s prophylactic stipulation. Plaintiff is also concerned

  that MSC will later attempt to use this stipulation to its advantage by making arguments that would

  require Plaintiff to possess the full scope of information sought in Interrogatory No. 15 in order to

  meaningfully respond.

          Further confounding the Response, MSC speaks out of both sides of its mouth when it states

  in the same Response that it stipulates to prior notice but also that it does not have prior notice.

  MSC does so by artfully mischaracterizing the evidence, testimony, and facts of this case to skew

  Plaintiff’s testimony and the evidence. To be sure, within minutes of fracturing her ankle Plaintiff

  informed MSC in writing that she had slipped on a very wet surface:




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         At her deposition Plaintiff also consistently and repeatedly testified that the floor was wet

  and slippery over the course of seven hours of deposition questioning from MSC’s counsel:

         •       “It was hard to see because there is a shadow, but I believe it was wet and slippery.”
                 Deposition of Corrine Piccinetti, taken April 26, 2018, Pg. 95, Lns. 22-23.

         •       Q.      Do you know what it was that you slipped on?
                 A.      Water and grease.
                 Q.      How do you know?
                 A.      Slick.
                 Q.      How do you know you slipped on water?
                 A.      I was laying in it.

  Id. Pg. 101, Ln. 14-22.

         •       Q.      Is it possible that in coming out of the pool they dripped water in the area that
                         you slipped?
                 A.      Could have.

  Id. Pg. 115, Ln. 10-15.

         •       Q.      What do you think caused the accident?
                 A.      Wet and sticky floors.
                 Q.      Sticky?
                 A.      Excuse me, slimy.
                 Q.      By slimy are you referring to the presence of the greasy oil substance?
                 A.      Could have been anything.

  Id. Pg. 144, Ln. 14-19.

         Plaintiff’s obvious intention in her deposition testimony was to convey that the floor was wet

  and that it felt slick, slimy, greasy etc; it was a slippery dangerous floor that caused her to slip and

  fall. Plaintiff is a lay person and her choice of words only indicate that the floor felt very slippery

  to her. She did not testify that she actually saw grease, suntan lotion or any other foreign object on

  the ground where she fell. She was specifically asked as much by counsel for MSC, and consistently

  responded that she did not. Id. Pg. 144-145. What she describes in common vernacular can only

  be fairly taken as meaning a slippery and wet floor. MSC should not be permitted to hide behind


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  a gross mischaracterization of testimony - incorrectly citing to a “greasy transitory substance” - to

  avoid its discovery obligations and potentially withhold relevant documents and records.

         MSC’s unclear stipulation, skewed and inaccurate factual limitation, and spurious objections

  keep Plaintiff in the dark on MSC’s actual position. MSC’s legal objections are not sustainable, and

  its factual characterization of the “transitory substance” is a charade that should not prevent

  discovery. The Court should Order MSC to fully respond to Interrogatory No. 15.

         •       Interrogatory No. 16:

         “16.    Please provide the following information on each and every incident in which
                 someone has slipped and fallen on the same or similar type of flooring as the
                 subject incident on the MSC Preziosa, Splendida, and Fantasia within 3
                 years before the date of the incident in this case:

                         a.      Date of incident;
                         b.      Full name, address, and telephone number of the person
                                 involved in the incident;
                         c.      Description of the vessel and location where the incident
                                 occurred;
                         d.      Description of how the incident happened;
                         e.      Description of the injuries, if any;
                         F.      If a lawsuit was filed, the full style and case number.

                 RESPONSE: Objection. This request is overbroad as to scope and
                 disproportionate to the needs of the case. Defendant stipulates that
                 Defendant is aware of prior slip and fall in the pool area of the Divina on
                 a similar type of flooring. Furthermore, Defendant objects to the
                 production of prior slip and falls insomuch as prior slip and falls do not
                 give Defendant notice of the greasy transitory substance identified by
                 Plaintiff, and are therefore irrelevant.”

         Plaintiff hereby re-submits the arguments and analysis applicable to Interrogatory No. 15

  above as also supporting her motion to compel an answer to Interrogatory No. 16. The MSC Divina

  is one of four “Fantasia Class” cruise vessels owned and operated by MSC, along with the MSC

  Preziosa, Splendida, and Fantasia vessels. These “Fantasia Class” ships are all built at the same

  shipyard and have the same basic layout and design. The MSC Preziosa is an identical sister ship

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  to the MSC Divina.

         Interrogatory No. 16 seeks information on prior slip and falls on similar flooring on other

  vessels in the same class as the Divina. This honorable court routinely permits such discovery,

  especially in light of the challenges faced by Plaintiff’s in proving the notice requirement in

  maritime negligence cases. For instance, this exact type of relief was granted in the case styled

  Hung Kang Huang v. Carnival Corporation, 2013 WL 12141519, * 1 (S.D. Fla. Aug. 29, 2013)

  (“Carnival is ordered to provide a response including all sip and falls in showers of the same

  configuration aboard all Spirit Class vessels (consisting of four vessel) within the three-year period

  prior to the subject incident.”). It was granted under similar facts in Rader v. NCL, 2017 WL

  7796320, *3 (S.D. Fla. April 27, 2017) (permitting “class-wide discovery of prior incidents taking

  place on gangways and involving circumstances similar to those alleged by Plaintiff.”). It was also

  granted in the case of Hsing-O v. NCL (Bahamas) Ltd., 2017 WL 4119598, #3 (S.D. Fla. September

  18, 2017) (“[W]e agree that Defendant should be required to produce the contents of its internal

  search for all slip and falls in cabin bathrooms for any vessel in the same class as the cruise ship

  identified in Plaintiff’s Complaint.”). Plaintiffs face a steep burden in proving the notice element

  of maritime negligence cases, especially in light of the holding in Pizzino v. NCL, 709 Fed. Appx.

  563 (11th Cir. 2017). The information sought in Interrogatory No. 16 will be used to demonstrate

  MSC’s notice and awareness of a potential defect and problem with its floors. It is directly

  proportional to the needs of the case, highly relevant to proving Plaintiff’s claims as well as the

  magnitude of the floor problem, and the type and scope of discovery regularly ordered to be

  produced by Courts in the Southern District of Florida.

         •       Interrogatory No. 17:

         17.     “In regard to the surface on which Plaintiff fell, please provide the following

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                 information:

                         a.      Describe in detail the type of floor material, and identify the
                                 manufacturer, distributor, make, model number, and any
                                 distinguishing characteristics ( i.e.- Bolidt (and include
                                 specific reference to precisely what type), marble, wood,
                                 glazed ceramic, resin, linoleum, etc.).
                         b.      Provide the name and address of the local representative of
                                 the manufacturer or distributor with whom Defendant
                                 communicates regarding installation, maintenance, or
                                 problems with the floor surface.
                         c.      Provide the date that the flooring was installed;
                         d.      Indicate whether Defendant coated, painted, resurfacing,
                                 modifications, additions, or other changes to the surface of
                                 the flooring after installation, and if so, describe what was
                                 done or added along with the dates;
                         e.      Please list the types of cleaning materials, soaps, chemicals,
                                 and treatments used on the surface of the flooring, and
                                 describe the method and frequency of application.

                         RESPONSE: Objection. This request is overbroad as to scope,
                         and disproportionate to the needs of this case. Furthermore, this
                         request is vague as to “local” in so much as it is unclear what
                         local representative Plaintiff seeks. Subject to and without
                         waiving the objections, see documents produced in response to
                         Plaintiff’s Request for Production.”

         The information sought in Interrogatory No. 17 is directly related to issues of liability in this

  case and to obtain basic information on the floor where the incident occurred. There is nothing

  overbroad or disproportionate about the Interrogatory. It will permit Plaintiff to conduct depositions

  where necessary and conduct follow up investigation into the scope of the problem with the subject

  floor. To date, Plaintiff is unable to determine the exact type of flooring at the area of incident.

  Defendant has pointed Plaintiff to documents produced in discovery, however, Plaintiff’s counsel

  is unable to determine the exact type of flooring and the other details sought in Interrogatory No.

  17 through the documents produced. Defendant’s overall discovery strategy of avoiding meaningful

  answers and advancing vague and ambagious responses and spurious objections has hindered


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  Plaintiff’s ability to prove her case and finish the discovery needed in the court ordered time frame.

  The Court should order a meaningful response to Interrogatory No. 17.


                 III.    MSC’s Deficient, Incomplete, and Evasive Responses to Requests for
                         Production No. 19, 21, 22, 34, 35, and 36

                 MSC should be ordered to compel full and meaningful answers to the following

  Requests for Production:

         •       Request for Production No. 19:

         “19.    Records pertaining to any injuries and/or claims of injuries sustained by any
                 passenger or crew member as a result of any slip or fall occurring on the
                 subject floor on Deck 14 where Plaintiff allegedly fell for the time period of
                 October 30, 2014 to the present.

                  RESPONSE: Objection. This request is overbroad as to scope and
                  disproportionate to the needs of the case. Defendant stipulates that
                  Defendant is aware of prior slip and fall in the pool area of the Divina
                  on a similar type of flooring. Furthermore, Defendant objects to the
                  production of prior slip and falls insomuch as prior slip and falls do not
                  give Defendant notice of the greasy transitory substance identified by
                  Plaintiff, and are therefore irrelevant. The request requests confidential
                  identifying personal health information protected by the Health
                  Insurance Portability and Accountability Act of 1996 (“HIPAA”) and
                  privacy laws. See e.g. 45 CFR 160.103; 45 CFR 164.514. Additionally,
                  the documents sought are privileged. The MSC Divina’s Safety Officer
                  completes an incident reports in anticipation of litigation. The reports
                  on the top of each and every page states “STRICTLY CONFIDENTIAL
                  PREPARED IN ANTICIPATION OF LITIGATION AND FOR USE
                  BY COMPANY ATTORNEYS.” The Defendant’s legal department in
                  Naples, Italy and its defense counsel are the custodians of these reports.
                  This Response constitutes Defendant’s privilege log for said report.”

         As to MSC’s objections directed towards overbreadth, disproportionality, the ambiguous and

  contradictory stipulation, and relevance, Plaintiff hereby re-submits the analysis set forth in support

  of compelling an answer to Interrogatory No. 15, supra, which have equal application to the instant

  Request.


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          MSC’s objection to confidentiality on HIPAA grounds is not well-taken. This concern is

   easily remedied by redacting any HIPAA protected data in the responsive documents and records

   prior to production. See e.g., Ricks v. MediCredit, Inc., 2017 WL 6389672 (M.D. Fla. Dec. 13,

   2017). MSC’s HIPAA objection should not prevent production of meaningful discovery responses.

          MSC sets forth a specific objection that “incident reports” are created in “anticipation of

   litigation.” Notwithstanding, Request for Production No. 19 seeks documents and records relating

   to slip and falls that occurred in the same location as Plaintiff’s incident. It is not limited to only

   incident reports. Plaintiff is as of yet uncertain as to the exact categories of documents and records

   that exist due to MSC evasive discovery strategy; however, the types of documents and records

   subject to discovery in maritime negligence cases usually include the following at a minimum:

   passenger incident statements (where the injured passenger or crew member is asked to write out

   what happened to them- this is categorically not a work-product protected document); safety meeting

   minute notes (these exists in the instant case and where apparantely wrongfully withheld, see

   analysis on Request for Production No. 34, infra); security watch logs; bridge logs; safety training

   materials; internal audits; USCG Form 2692 submissions; pursers logs; guest complaints; the cruise

   line’s internal customer service claims and complaint notes; crew medical notes; notice letters of

   impending litigation; and filed lawsuits.

          In addition, every cruise line maintains a shore side risk management and occupational safety

   department that generally keeps detailed records relating to every injury incidents on each of its

   vessels. These departments conduct root cause analysis and create follow up plans of action to

   prevent and mitigate future injury occurrences. They have spreadsheets listing all prior slip and fall

   incidents with corresponding data and information. These departments inherently generate a

   multitude of emails and other documents and records related to slip and fall incidents, prevention,

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   and problems, which would fall under the instant Request.

          Furthermore, there is correspondence (often in the form of emails) from the bridge or

   medical team relating to incidents of injury, as well as correspondence (often in the form of emails)

   from the bridge, housekeeping, and technical teams on the to shoreside management departments

   about problem areas on the vessels such as the area where the incident occurred.

          None of these various categories of responsive documents or records described above are

   protected by any type of privilege whatsoever, and it is unfathomable that MSC is not in possession

   of any such responsive materials. If there are in fact no responsive materials, MSC should respond

   “None” to avoid the confusion and ambiguity created by a hollow objection.

          Adding to the ambiguity, MSC did not provide a privilege log as required under the law.

   “Generalized objections asserting ‘confidentiality,’ attorney-client privilege or work product

   doctrine. . . do not comport with local rules.” Guzman v. Irmadan, Inc., 249 F.R.D. 399, 401 (S.D.

   Fla. 2008). Plaintiff is unable to determine the validity of the privilege objection without details

   regarding same. If MSC believes that certain documents are protected by work-product privilege,

   it must prepare a privilege log that provides a meaningful description of the individual documents

   subject to protection. See, e.g., Bridgewater v. Carnival Corp., 286 F.R.D. 636, 638-39 (S.D. Fla.

   2011). “[W]hat the party asserting a privilege must do, at minimum, is the following: (1) Bates

   stamp each document or otherwise specifically identify each communication; (2) start with Rule of

   Evidence 501, and if necessary proceed to case law, to determine what law of privilege governs the

   communication, and identify the elements of that privilege; (3) for each document or communication

   identify the evidence that establishes that each element of the privilege applies to that

   communication; (4) prepare a privilege log that has enough information about the communication

   so that the opposing party or the Court can determine, at a minimum, that the claimed privilege

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   might apply . . .” Campero USA Corp. v. ADS Foodservice, LLC, 916 F. Supp. 2d 1284, 1293 (S.D.

   Fla. 2012). In similar regard, Southern District of Florida Local Rule 26.1(g)(3)(B) “requires that

   objections based upon privilege identify the specific nature of the privilege being asserted, as well

   as identifying such things as the nature and subject matter of the communication at issue.” Alvar

   v. No Pressure Roof Cleaning, LLC, 2018 WL 1187777, *2 (S.D. Fla. March 7, 2018). Additionally,

   local rule 26.1(e)(2)(C) and Federal Rule of Civil Procedure 26(b) require the preparation of a

   privilege log. MSC should be ordered to comply with the law and rules by providing a privilege log

   if it intends to withhold documents and records based upon a claim of privilege.

          •       Request for Production No. 21:

                  21.     Records pertaining to any injuries and/or claims of injuries sustained by
                          any passenger or crew member as a result of any slip or fall occurring on
                          similar flooring material on the MSC Splendida, Fantasia, or Preziosa
                          (Defendant’s other Fantasia-class vessel) for the time period of October
                          30, 2014 to the present.

                  RESPONSE: Objection. This request is overbroad as to scope and
                  disproportionate to the needs of the case. Defendant stipulates that
                  Defendant is aware of prior slip and fall in the pool area of the Divina on
                  a similar type of flooring. Furthermore, Defendant objects to the
                  production of prior slip and falls insomuch as prior slip and falls do not
                  give Defendant notice of the greasy transitory substance identified by
                  Plaintiff, and are therefore irrelevant. The request requests confidential
                  identifying personal health information protected by the Health
                  Insurance Portability and Accountability Act of 1996 (“HIPPA”) and
                  privacy laws. See e.g. 45 CFR 160.103; 45 CFR 164.514. Additionally,
                  the documents sought are privileged. The MSC Divina’s Safety Office
                  completes an incident reports in anticipation of litigation. The reports
                  on the top of each and every page states “STRICTLY CONFIDENTIAL
                  PREPARED IN ANTICIPATION OF LITIGATION AND FOR USE
                  BY COMPANY ATTORNEYS.” The Defendant’s legal department in
                  Naples, Italy and its defense counsel are the custodians of these reports.

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                  This Response constitutes Defendant’s privilege log for said report.

          Plaintiff hereby re-submits the analysis and argument set forth in support of compelling an

   answer to Interrogatory No. 15, as well as a response to Request No. 19, supra, as support and basis

   to compel a response, as well as a privilege log, to Request for Production No. 21, for the same

   reasons.

          •      Request for Production No. 22:

                  22.    Any and all records, comment cards, guest relation log and purser log
                         entries identifying passenger complaints, warnings, and/or concerns
                         of any kind relating to the slipperiness of Deck 14 where Plaintiff’s
                         incident allegedly occurred for the time period of October 30, 2014
                         to the present.

                   RESPONSE: Objection. This request is overbroad as to scope and
                   disproportionate to the needs of the case. Defendant stipulates that
                   Defendant is aware of prior slip and fall in the pool area of the Divina
                   on a similar type of flooring. Furthermore, Defendant objects to the
                   production of prior slip and falls insomuch as prior slip and falls do not
                   give Defendant notice of the greasy transitory substance identified by
                   Plaintiff, and are therefore irrelevant.        The request requests
                   confidential identifying personal health information protected by the
                   Health Insurance Portability and Accountability Act of 1996
                   (“HIPPA”) and privacy laws. See e.g. 45 CFR 160.103; 45 CFR
                   164.514. Additionally, the documents sought are privileged. The MSC
                   Divina’s Safety Office completes an incident reports in anticipation of
                   litigation. The reports on the top of each and every page states
                   “STRICTLY CONFIDENTIAL PREPARED IN ANTICIPATION OF
                   LITIGATION AND FOR USE BY COMPANY ATTORNEYS.” The
                   Defendant’s legal department in Naples, Italy and its defense counsel
                   are the custodians of these reports. This Response constitutes
                   Defendant’s privilege log for said report.


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          Plaintiff hereby re-submits the analysis and argument set forth in support of compelling an

   answer to Interrogatory No. 15, as well as a response to Request for Production No. 19, supra, as

   support and basis to compel a response, as well as a privilege, to Request for Production No. 22, for

   the same reasons.

   •      Request for Production No. 34:

                  34.    Any and all minutes, notes, log or records from the monthly Safety
                         Management Meetings pertaining to, mentioning or referencing slip
                         or slip and fall accidents on walking surfaces or stairways aboard the
                         MSC Divina from October 30, 2014 through the present.

                  RESPONSE: Objection. This request is overbroad as to scope and
                  disproportionate to the needs of the case. Defendant stipulates that
                  Defendant is aware of prior slip and fall in the pool area of the Divina on
                  a similar type of flooring. Furthermore, Defendant objects to the
                  production of prior slip and falls insomuch as prior slip and falls do not
                  give Defendant notice of the greasy transitory substance identified by
                  Plaintiff, and are therefore irrelevant. Additionally, this request calls for
                  the production of irrelevant information relating accidents that are not
                  substantially similar to the accident alleged by Plaintiff. Subject to and
                  without waiving the objection; Defendant responds none.

          Plaintiff is extremely concerned and disconcerted that MSC responded “none” to the instant

   Request for Production. On Saturday, May 12, 2018, the Deposition of Dr. Simona Pertache was

   taken by Plaintiff’s counsel. Dr. Pertache unequivocally testified that she attended safety meetings

   on a regular basis during the eight months she was working on the MSC Divina. She indicated that

   members of the bridge team, the staff captain, safety officers, the chief engineer, and upper

   management from the hotel division all attend such meetings. She further testified that slip and fall

   safety and prevention was discussed at such meetings. Notably, she testified that written minutes

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   of the meeting are maintained.2 As such, Plaintiff is highly skeptical that Defendant’s response of

   “none” is accurate or complete.

          Safety meeting minutes are routinely produced in maritime negligence matters. Hung Kang

   Huang v. Carnival Corporation, 2013 WL 12141519, *2 (S.D. Fla. Aug. 29, 2013) (ordering

   Carnival cruise line to produce safety committee meeting minutes). In fact, in a different case

   involving the same Defendant, MSC (f/k/a/, and named in that case as Costa Crociere, S.P.A.)

   produced and was ordered to produce additional safety meeting minutes. Muhammad v. Costa

   Crociere, S.p.A., 2010 WL 503069 (S.D. Fla. Feb. 8, 2010) (MSC produced “minutes of both the

   staff meetings and the safety meetings.”).    Thus, the testimony of Dr. Pertache as well as the

   Muhammad case make it clear that MSC keeps a written record of safety meetings and staff

   meetings. Such clearly responsive and highly relevant materials should be ordered produced

   forthwith.

          In addition, Plaintiff also re-submits the analysis and argument set forth in support of

   compelling an answer to Interrogatory No. 15, as well as a response to Request for Production No.

   19, supra, as further support and basis to compel a response to Request for Production No. 34

   •      Request for Production No. 35:

                 35.     Any and all minutes, notes, log or records from the monthly Safety
                         Management Meetings pertaining to, mentioning or referencing
                         walking safety, maintenance of floors on Deck 14, cleaning of floors
                         on Deck 14, keeping dry of floors on Deck 14, accident prevention on
                         Deck 14, slipperiness on walking surfaces, slip accidents, aboard the
                         MSC Divina from October 30, 2014 through the present limited to the


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          Dr. Pertache also testified that a “emergency call record” document exists which would have
   been made when the incident was first reported to her. It was not produced in discovery either.

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                         flooring/ decking where the incident occurred and the same type of
                         flooring located anywhere else on the subject vessel.

                 RESPONSE: Objection. This request is overbroad as to scope and
                 disproportionate to the needs of the case. Defendant stipulates that
                 Defendant is aware of prior slip and fall in the pool area of the Divina on
                 a similar type of flooring. Furthermore, Defendant objects to the
                 production of prior slip and falls insomuch as prior slip and falls do not
                 give Defendant notice of the greasy transitory substance identified by
                 Plaintiff, and are therefore irrelevant. Subject to and without waiving
                 the objection; Defendant responds none.

          Plaintiff re-submits the analysis and argument set forth in support of compelling a Response

   to Request for Production No. 34, supra, as support and basis to compel a response to Request for

   Production No. 35 as well.

   •      Request for Production No. 36:

                  36.    Any and all minutes, notes, log or records from the weekly Senior
                         Officers meetings pertaining to, mentioning or referencing slip or slip
                         and fall accidents on walking surfaces or stairways aboard the MSC
                         Divina from October 30, 2014 through the present.

                  RESPONSE: Objection. This request is overbroad as to scope and
                  disproportionate to the needs of the case. Defendant stipulates that
                  Defendant is aware of prior slip and fall in the pool area of the Divina on
                  a similar type of flooring. Furthermore, Defendant objects to the
                  production of prior slip and falls insomuch as prior slip and falls do not
                  give Defendant notice of the greasy transitory substance identified by
                  Plaintiff, and are therefore irrelevant. Additionally, this request calls
                  for the production of irrelevant information relating accidents that are
                  not substantially similar to the accident alleged by Plaintiff. Subject to
                  and without waiving the objection; Defendant responds none.



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          Plaintiff re-submits the analysis and argument set forth in support of compelling a Response

   to Request for Production No. 34, supra, as support and basis to compel a response to Request for

   Production No. 36 as well.

                                             CONCLUSION

          Plaintiff needs the information, documents, and records set forth above to both prove her case

   and convince jurors on issues of liability. MSC has failed to set forth a tenable legal or factual basis

   to preclude discovery on the items set forth above. Furthermore, MSC stipulates that it has notice

   and also that it does not have notice in perplexing fashion. MSC cannot have it both ways, and even

   a stipulation as to notice does not relieve MSC’s discovery obligations, nor does it make the

   discovery any less vital to Plaintiff’s case. As it stands, MSC has avoided providing meaningful

   discovery in this matter as a transparent tactic to gain an unfair upper-hand in the litigation. Such

   conduct flies in the face of the liberal and broad spirit of discovery encouraged by the Rules of Civil

   Procedure and controlling law.

          WHEREFORE, Plaintiff respectfully requests that an Order be entered compelling MSC to

   answer Interrogatories No. 15, 16, and 17; to provide responsive documents and records to Request

   for Production 19, 21, 22, 34, 35, and 36; to provide a privilege log that comports with the

   requirements of law for any documents or records being withheld on the basis of privilege; and for

   any such other or further relief the court deems just and proper. Plaintiff hereby requests that the

   time frame for ordering such production takes into account the fast approaching discovery deadline

   in this matter.




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                                           7.1 Certification

          Counsel for Plaintiff has conferred with Defendant in a good faith effort to resolve the issues

   raised in this motion but has been unable to do so.

                                                         Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the Court

   via CM/ECF on this 15th day of May, 2018. I also certify that the foregoing was served on all

   counsel or parties of record on the attached Service List either via transmission of Notices of

   Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or

   parties who are not authorized to receive electronic Notices of Filing.


                                                         By:     /s/ Thomas D. Graham
                                                                 Thomas D. Graham




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                                    SERVICE LIST
                               CASE NO.: 18-cv-20771-FAM

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